                             No. 23-11027
                                   In the


United States Court of Appeals
              For the Eleventh Circuit
                            __________________

     JOSE J. AYALA, JR., JEFF SANTOS, on behalf of themselves and as
         representatives of other class members similarly situated,
                                                         Plaintiffs-Appellants,
                                     v.
NISSAN NORTH AMERICA, INC., a California corporation, and wholly owned
     subsidiary of Nissan Motor Company of Japan, d/b/a Nissan USA,
                                                         Defendant-Appellee.
                           _________________

          On Appeal from the United States District Court for
                     the Middle District of Florida
                 Case No. 6:20-cv-01625-RBD-RMN
         Honorable Roy B. Dalton, Jr., Senior U.S. District Judge
          Honorable Robert M. Norway, U.S. Magistrate Judge
                         __________________

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                                         Jose Ayala, Jr., et al. v. Nissan North America, Inc.
                                                                           Case No. 23-11027

               CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT

      Defendant-Appellee Nissan North America, Inc. (“Nissan”), pursuant to

11th Cir. R. 26.1-1 through 26.1-3 and Fed. R. App. P. 26.1, hereby certifies that

upon information and belief, Appellants’ CIP and Corporate Disclosure Statement

included in their August 3, 2023 Opening Brief lists all persons and entities with an

interest in the outcome of this case.

      Nissan North America, Inc., is a wholly-owned subsidiary of Nissan Motor

Company, Ltd., with its principal place of business located in Tennessee. Nissan

Motor Company, Ltd. wholly owns the outstanding capital stock of Nissan North

America, Inc. and is a foreign corporation incorporated under the laws of Japan

with its principal place of business located in Japan. Nissan Motor Company, Ltd.

is publicly traded on NASDAQ under the ticker symbol “NSANY” and on the

Tokyo Stock Exchange under the ticker symbol “7201”.



Dated: October 5, 2023                         /s/ Matthew A. Fitzgerald
                                               Matthew A. Fitzgerald

                                               Counsel for Defendant-Appellee
                                               Nissan North America, Inc.




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              STATEMENT REGARDING ORAL ARGUMENT

      Appellee Nissan North America, Inc. does not request oral argument. No

law is in dispute in this appeal and the facts are straightforward. If the Court

prefers to hear oral argument, however, Nissan will readily participate.




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                                 INTRODUCTION

      This appeal centers on who qualifies as an employer of auto mechanics that

worked for and were paid by independent car dealerships in Florida. The

dealerships hired their mechanics, paid them different rates, had their own Human

Resources departments, and otherwise controlled the daily aspects of the

mechanics’ jobs. But the plaintiff mechanics contend that even so, Nissan—a car

manufacturer that contracts with dealerships to sell and service Nissan vehicles—

also operated as their employer. They are wrong.

      Nissan played no role in Plaintiffs’ employment, much less the direct, deeply

involved role that this Court’s joint employment test requires. Plaintiffs’ contrary

arguments rest on a dealership manual and dealership agreement that set high-level

contract standards for the dealerships, but do not touch the specifics of Plaintiffs’

daily employment or address their pay. Under Plaintiffs’ theory, every

manufacturer or vendor that contracts with a distributor or servicer (and provides

general standards for how that distributor should meet its contractual obligations)

automatically becomes a joint employer of that distributor’s employees. That

theory falls flat in the face of what joint employment requires: specific control

over, and direct involvement in, employees’ work conditions and activities as well

as their compensation.




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      Nissan has neither. Not only does Florida law expressly prohibit Nissan

from operating dealerships—those third-party dealerships must run independently

from manufacturers like Nissan—but only the dealerships handle hiring,

negotiating and paying wages, scheduling shifts, assigning and supervising specific

tasks, imposing discipline, and granting promotions to their mechanics (who are

also referred to as service technicians). Nissan plays no role in these activities.

Nor does it play any role in the technicians’ pay, which each dealership decides

according to its own compensation structure. Indeed, so individual are the

dealerships’ operations and pay policies that technicians (including Plaintiffs here)

move between dealerships in search of better pay—conduct that would make no

sense if Nissan employed those technicians and uniformly decided their wages.

      The District Court thus correctly evaluated the joint employment factors to

conclude that Nissan does not exert the requisite control over Plaintiffs’

employment, and this Court should affirm summary judgment on the Fair Labor

Standards Act and Florida Minimum Wage Act claims. For the same reason,

Plaintiffs’ unjust enrichment claims and class certification arguments fail, and the

District Court’s correct rulings on both should also be affirmed.




                                           2
                            STATEMENT OF THE ISSUES

     I.       Whether the District Court correctly granted Nissan summary judgment
              when all the evidence it evaluated, including Nissan’s dealer manual and
              contract setting general standards for the independent dealers that
              employed and paid Plaintiffs, showed that Nissan was not Plaintiffs’ joint
              employer because it did not control Plaintiffs’ employment conditions or
              pay?

     II.      Whether the District Court correctly denied collective action and class
              certification when Plaintiffs, who work for different employers, are not
              similarly situated or subject to any common compensation policy?

                             STATEMENT OF THE CASE
I.         Statement of facts.

           Nissan North America, Inc. manufactures and distributes automobiles. Dkt.

161-1, p. 2-3.1 Under Florida law, Nissan may neither sell directly to nor service

vehicles for customers. Fla. Stat. § 320.645; Dkt. 161-1, p. 2. So Nissan contracts

with third party, independent dealerships to perform these activities. Dkt. 161-1, p.

2; Dkt. 161-2, p. 2. Each such dealership executes a Dealer Sales and Service

Agreement (Dealer Agreement) with Nissan that authorizes the dealership to sell

Nissan vehicles and obligates it to service vehicles covered by Nissan warranties.

Dkt. 161-1, p. 2; Dkt. 153-6. These contracts do not preclude the dealerships,

which are independently owned and operated, from selling or servicing other


1
  “Dkt. __” citations are to the district court docket. Citations to public record
pages are to the page numbers that appear in the header generated by the court’s
ECF system. Citations to sealed record pages are to the page numbers that appear
in the documents.

                                             3
manufacturers’ automobiles or performing other, non-warranty work on Nissan

vehicles—and many dealers do both. Dkt. 161-1, p. 2-3; Dkt. 161-4, p. 2.

      The independent dealerships that contract with Nissan have their own

Service Departments for performing work covered by a Nissan warranty, work

paid for by a customer, and internal work to prepare used vehicles for sale. Dkt.

161-4, p. 2-3; Dkt. 161-1, p. 3. Nissan is not required to and does not compensate

dealers for performing customer-paid or internal work on Nissan vehicles. But

Florida law requires Nissan to pay dealers for warranty work. Dkt. 161-1, p. 4;

Fla. Stat. § 320.696(1).

       For every warranty claim, Nissan pays a dealer an amount determined by

multiplying a “flat-rate time” by that dealer’s “approved labor rate.” Dkt. 161-1, p.

4. The “approved labor rate” is individual to each dealership, while the “flat-rate

time” is the time that Nissan (based on its own research and studies) has

determined the “average” service technician should take to complete a specific

repair (and is generally an overestimate). Dkt. 161-1, p. 4. Nissan’s Assurance

Products Resource Manual (APRM) lays out the processes and requirements

dealers must follow to get paid for warranty claims. Dkt. 161-1, p. 4; Dkt. 153-4;

Dkt. 153-6.

      While Nissan and the dealers operate at an arms-length with respect to these

warranty claims (and in all other respects), the dealers handle the specifics of how



                                          4
warranty work and all other repairs are performed—and who performs that work

for what pay. The dealerships hire their own service technicians to perform all

forms of repairs at their dealerships and pay those technicians directly, without

Nissan’s involvement. Dkt. 161-1, p. 9-10; Dkt. 161-4, p. 3.

      Plaintiffs Jose J. Ayala, Jr. and Jeff Santos worked as service technicians at

four different independent dealerships in Florida that had contracts with Nissan—

Ayala for two dealerships in Orlando and Clermont and Santos for three

dealerships in Orlando. Dkt. 161-6, p. 3; Dkt. 161-7, p. 3.

II.   Relevant procedural history.

      Plaintiffs brought a putative collective and class action against Nissan

alleging violations of the Fair Labor Standards Act (FLSA), 29 U.S.C. § 201 et

seq.; violations of Florida Minimum Wage Act (FMWA), Fla. Stat. § 448.110; and

claims for unjust enrichment. Dkt. 40, p. 29-42. Plaintiffs alleged that Nissan was

a “joint venture employer” with the dealerships that employed them. Dkt. 40, p.

12. They asserted that Nissan’s “flat-rate” payments to the dealers for warranty

work, as well as requirements that Plaintiffs purchase their own tools, led to

Plaintiffs being underpaid. Dkt. 40, p. 18-20.2




2
 Four opt-in plaintiffs also elected to join the putative collective action: Santiago
Cadenas Mesa, Sergio Serrano, Andre Wright, and Edwin Christiansen.

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       At the close of discovery, the District Court denied Plaintiffs’ motions to

certify a class and an FLSA collective action (Dkts. 153 & 154) and granted

Nissan’s motion for summary judgment (Dkt. 161). Dkt. 194, p. 9. The court held

that, under this Court’s eight-factor test for joint employment, Nissan did not

qualify as Plaintiffs’ joint employer. Dkt. 194, p. 4. Each factor, the District Court

held, “weigh[ed] against a finding of joint employment.” Dkt. 194, p. 4-8. And

because “all the factors weigh[ed] against” that finding, the District Court

“conclud[ed] that Nissan is not Plaintiffs’ joint employer as a matter of law.” Dkt.

194, p. 9. This conclusion meant Nissan was entitled to summary judgment on its

FLSA and FMWA claims. Dkt. 194, p. 9. It also meant that Nissan was entitled to

summary judgment on the unjust enrichment claims, as Plaintiffs had not directly

conferred any benefit on Nissan, an entity that did not employ them. Dkt. 194, p. 9

n.1.

       The District Court’s joint employment decision also resolved the class and

collective action certification questions. Because “Plaintiffs all work for different

dealerships and not Nissan, the inquiries as to each one would be individualized

and unwieldy.” Dkt. 194, p. 9 n.2. Given the lack of similarly situated Plaintiffs

pursuing common claims susceptible to classwide proof, the District Court denied

both certification motions. Dkt. 194, p. 9 n.2. This appeal followed.




                                          6
                        SUMMARY OF THE ARGUMENT

        The District Court correctly granted Nissan summary judgment and denied

certification of the putative collective and class action. Plaintiffs’ arguments to the

contrary rely on misreading the record and misapplying the law.

        This Court’s eight-factor test for joint employment requires applying the

undisputed facts to determine each factor’s weight for or against joint employment.

That is exactly what the District Court did. It neither omitted nor improperly

weighed evidence. Instead, the record is clear that the District Court evaluated all

the evidence (which presented no factual disputes), including the APRM, Dealer

Agreement, and related documents Plaintiffs assert are central to proving their

case.

        The problem for Plaintiffs is that none of these documents say what

Plaintiffs allege or argue, and as a result, none support their claims. In particular,

they do not reflect that Nissan had any control over or involvement in what or how

Plaintiffs were paid or in the other specific terms and conditions of their

employment. At every factor, these documents fall far short of showing that

Nissan—rather than the independent dealerships that hired Plaintiffs and controlled

all aspects of their employment—acted in any way as Plaintiffs’ employer. The

District Court thus correctly held that each factor weighed against joint

employment, and ultimately granted Nissan summary judgment on this issue.



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      For related reasons, the District Court correctly denied certification. In

trying to show otherwise, Plaintiffs simply invoke the same arguments that fail as

to joint employment, meaning this Court can simply affirm denial of certification

for the same reasons it affirms the grant of summary judgment.

      Indeed, there is little if any daylight between the joint employment and

certification analyses. Certification requires “similarly situated” plaintiffs—i.e.,

plaintiffs subject to the same employer’s payment policies. Because Plaintiffs

were not employed by Nissan or subject to any payment policy Nissan imposed,

Plaintiffs could not meet this standard. This Court should affirm.

              ARGUMENT AND CITATIONS TO AUTHORITY

I.    The District Court correctly granted Nissan’s motion for summary
      judgment.

      The District Court faithfully applied this Court’s joint-employment standard

to the undisputed facts to reach the correct conclusion that Nissan was not

Plaintiffs’ employer. Plaintiffs’ contrary arguments misconstrue both the relevant

standard and what the District Court did, and they fail to overcome the

overwhelming evidence that they were exclusively employed by the independent

dealerships and not by Nissan.




                                           8
      A.     Joint employment is a legal determination that requires weighing
             eight factors.

      Only an “employer” can be liable under FLSA and the FMWA. 29 U.S.C.

§§ 206, 207; Fla. Stat. § 448.110(3); Antenor v. D & S Farms, 88 F.3d 925, 929

(11th Cir. 1996). Whether an entity qualifies as a worker’s “joint employer” is a

legal question this Court reviews de novo. Aimable v. Long & Scott Farms, 20

F.3d 434, 440 (11th Cir. 1994). Though any “individual findings of fact” that lead

“to that legal determination” are subject to clear error review, the ultimate legal

question of joint employment is for the judge. Patel v. Wargo, 803 F.2d 632, 634

(11th Cir. 1986). So when, as here, the material facts relevant to each factor are

not in dispute, joint employment status is a pure question of law the judge

appropriately resolves. See, e.g., Martinez-Mendoza v. Champion Int’l Corp., 340

F.3d 1200, 1210-15 (11th Cir. 2003) (affirming grant of summary judgment when,

on undisputed facts, factors weighed against joint employment).

      To decide this legal question, this Court evaluates eight factors, none of

which are dispositive: (1) the nature and degree of control of the workers; (2) the

degree of supervision, direct or indirect, of the work; (3) the power to determine

the pay rates or the methods of payment of the workers; (4) the right, directly or

indirectly, to hire, fire, or modify the employment conditions of the workers;

(5) preparation of payroll and the payment of wages; (6) ownership of the facilities

where work occurred; (7) performance of a specialty job integral to the business;


                                          9
and (8) investment in equipment and facilities. Layton v. DHL Exp. (USA), Inc.,

686 F.3d 1172, 1176 (11th Cir. 2012). That is, the Court (and trial court, in the

first instance) assesses the undisputed facts relevant to each factor to decide

whether that factor weighs for or against finding joint employment. See, e.g., id. at

1178-81 (discussing whether each factor “weighs” for or against joint

employment). That is exactly what happened below.

      B.     The District Court properly weighed the eight joint employment
             factors based on the undisputed facts.

      Plaintiffs center their brief on an incorrect premise: that the District Court

omitted or weighed evidence to improperly resolve factual disputes. The court did

neither. Nor were there any factual disputes precluding entry of summary

judgment.

      The District Court considered all the evidence. A straightforward review of

the record refutes Plaintiffs’ assertion that the District Court did not consider the

APRM, the Dealer Agreement, Nissan’s technical bulletins, Plaintiffs’

declarations, or any other relevant evidence. Though the District Court did not

expressly name those documents in its written decision, it plainly evaluated them

and Plaintiffs’ (meritless) arguments about what they showed.

      Indeed, the District Court frequently cited to Plaintiffs’ own evidence when

evaluating the joint employment factors, including the evidence Plaintiffs contend

the court ignored. See, e.g., Dkt. 194, p. 4-5 (citing exhibits to Plaintiffs’

                                           10
certification motion, Dkt. 153). For example, in assessing Nissan’s purported

control over Plaintiffs’ employment, the District Court acknowledged that Nissan

“requires that mechanics clock on to one [warranty] project at a time”—a mandate

that comes from the APRM. Dkt. 194, p. 4 (citing Dkt. 161-11, p. 33 (testimony

quoting relevant portion of the APRM)). The court also referenced Nissan’s

“general requirements dealers must follow” to receive payment on warranty

claims, requirements that are laid out in the APRM and related Nissan guidance.

Dkt. 194, p. 4 (citing Dkt. 161-11, p. 98); see also Dkt. 161-11, p. 96 (testifying

that relevant process comes from “either the APRM or the flat-rate manual”).

      And when evaluating Nissan’s power to determine Plaintiffs’ pay rates or

methods—the issue that “form[ed] the gravamen of Plaintiffs’ argument”—the

District Court referenced and refuted Plaintiffs’ contention that the flat-rate system

indirectly affected their pay. Dkt. 194, p. 6. In doing so, the court pointed to pages

13-16 of Plaintiffs’ certification motion and page 13 of their summary judgment

opposition. Dkt. 194, p. 6 (citing Dkt. 153, p. 13-16; Dkt. 169, p. 13). Those parts

of Plaintiffs’ briefs focused almost entirely on (1) the APRM, see Dkt. 153, p. 13-

15 (referencing APRM and citing APRM excerpts at Dkt. 40-1), Dkt. 169, p. 13;

(2) Plaintiffs’ declarations, see Dkt. 153, p. 14-16 (citing Dkts. 66-1 & 66-2);

(3) “various Nissan bulletins,” Dkt. 153, p. 14; and (4) the Dealer Agreement, see

Dkt. 169, p. 13.



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       These references make plain that the District Court assessed the evidence

that Plaintiffs contend is so central to their case. The court simply found it

unavailing to show that Nissan sufficiently controlled Plaintiffs’ pay or otherwise

change the weight of any factor in the joint employer analysis. Nothing supports

Plaintiffs’ assertion that the District Court somehow overlooked or ignored the

evidence from the APRM, Dealer Agreement, technical bulletins, or otherwise,

especially when those documents formed the core of Plaintiffs’ arguments in

briefing and before the court. See Dkt. 203, p. 5 (arguing at hearing that joint

employment was shown by “the Assurance Products Resource Manual . . . their

dealership agreements, the bulletins that they publish . . . , their policies and

procedures, their behavior, their corporate representative’s deposition testimony”).

Indeed, Plaintiffs themselves highlight the District Court’s awareness of their

reliance on the APRM even before it decided the summary judgment motion, as

they quote the court’s discussion of the same at an earlier hearing. Opening Br. 15.

      Nor is this situation anything like those in Moore v. GEICO General

Insurance Co., 633 F. App’x 924 (11th Cir. 2016), or Dugandzic v. Nike, Inc., 807

F. App’x 971 (11th Cir. 2020)—neither of which involved the legal question of

joint employment. Contra Opening Br. 12-13. In Moore, the district court

expressly refused to credit as accurate witness deposition testimony and “made no

mention whatsoever” of expert testimony, despite both pieces of evidence



                                           12
supporting the non-movant’s position on summary judgment. 633 F. App’x at 930.

The District Court here repeatedly and expressly considered Plaintiffs’ evidence

and never refused to credit it as true. It simply found that evidence unavailing

under the joint employment standard.

      In Dugandzic, a Title VII action, the district court “dismiss[ed] out of hand

any evidence of alleged harassment that was not facially based on [the plaintiff’s]

national origin,” and thus failed to evaluate the full context of the employer’s

conduct to decide whether a hostile work environment existed. 807 F. App’x at

976. Again, the District Court here never dismissed or rejected any evidence. It

acknowledged and considered that evidence but determined that it did not satisfy

the legal test for joint employment. That conclusion was correct.

      The District Court weighed the factors—not the evidence. The record also

refutes Plaintiffs’ view that the District Court engaged in any improper weighing

of evidence or resolved any factual disputes. Indeed, there were none to resolve.

      Take the APRM and Dealer Agreement: everyone agreed that those

documents existed, and their contents were undisputed. That is, there was no

conflicting evidence about whether the APRM governed, or what it said. The

parties simply disagreed about whether those documents (along with the other

evidence) showed the necessary control over Plaintiffs’ pay and other conditions of




                                         13
employment. That “hotly disputed issue” was not a factual one, contra Opening

Br. 14—it was a legal question controlled by this Court’s precedents.

      The same holds true across the board. There were no conflicting documents

or competing testimony about what the relevant policies or procedures were, or

what Nissan did or did not do. There was a single universe of undisputed evidence

about how Nissan, the dealerships, and Plaintiffs operated and interacted. The only

question was how that evidence played out under this Court’s joint employment

precedents. And the District Court properly applied those precedents to reach the

legal conclusion that the eight factors weighed against finding that Nissan was

Plaintiffs’ joint employer.

      C.     The District Court correctly held that all eight factors weighed
             against joint employment.

      As the District Court held, each of the relevant factors comes out against

joint employment. Nothing in Plaintiffs’ evidence or argument shows otherwise.

             1.     Nature and degree of control.

      “Control arises” only when a party “goes beyond general,” macro-level

instructions and “begins to assign specific tasks, to assign specific workers, or to

take an overly active role in the oversight of the work.” Aimable, 20 F.3d at 441.

That “overly active role” arises if the party decides things like “(1) for whom and

how many employees to hire; (2) how to design the employees’ management

structure; (3) when work begins each day; (4) when the laborers shall start and stop

                                          14
their work throughout the day; and (5) whether a laborer should be disciplined or

retained.” Martinez-Mendoza, 340 F.3d at 1209-10.

      The undisputed evidence (including Plaintiffs’ own testimony) shows that

Nissan does none of these things. The individual dealerships operate according to

their own handbooks and employment practices—Nissan plays no role in framing

the dealers’ management structure or practices. Dkt. 161-4, p. 3; Dkt. 161-10, p.

27. Each dealer has its own Human Resources department and service manager,

and each and decides who to hire (and fire) on what terms; how and how much to

compensate technicians; and the other relevant terms of employment, including

benefits and discipline—Nissan does not make or influence these decisions. Dkt.

161-2, p. 2-3; Dkt. 161-3, p. 2-3; Dkt. 161-4, p. 3-6; Dkt. 161-9, p. 57-61; Dkt.

161-10, p. 79-80, 88.

      And the dealers make their own decisions about mechanics’ work schedules

and assigning technicians specific tasks. Dkt. 161-4, p. 5-6; Dkt. 161-9, p. 113-15.

Indeed, so individual is each dealer’s operations that each “has its own process for

assigning service technicians to perform warranty work,” in which “Nissan does

not play any role.” Dkt. 161-1, p. 7; see also Dkt. 161-9, p. 115 (“Q: So Sutherlin

[Nissan] really was a different type of operation than Reed [Nissan]? A. Yes.”).

Thus, Nissan “did not—and could not—assign [workers] or tasks, dictate hiring

decisions, design the [technicians’] management structure, govern [their] work



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schedule, or implement [worker] discipline.” Martinez-Mendoza, 340 F.3d at

1210.

        Plaintiffs do not disagree with any of this evidence. They simply assert that

the APRM, Dealer Agreement, and various technical bulletins still show the

requisite control because they reflect that Nissan will only pay dealers for warranty

work under specific conditions. Opening Br. 6, 20. For example, the APRM

requires that when dealers submit a warranty claim, the Work Order must identify

the technicians who worked on the repair and the times that each “clock[ed] on” to

and “clock[ed] off” from working on the repair. Dkt. 153-4, p. W-34. This record-

keeping allows Nissan to determine whether the time recorded “reasonably

support[s] the repair claimed” such that it will pay the dealer the requested claim

amount. Dkt. 153-4, p. W-34. The APRM also provides that technicians “may

work on only one vehicle at a time” for warranty work, that they have completed

Nissan’s Technician Training for the warranty repair they are performing, and that

they verify the conditions requiring repair in the Work Order. Dkt. 153-4, p. W-

37-39. The technical bulletins, meanwhile, explain how to address particular

issues that might arise in Nissan vehicles. Dkt. 153-7, p. 1-35.

        As the District Court held, this kind of high-level oversight primarily

directed at the dealers does not amount to the direct “control” over Plaintiffs that

joint employment requires. Dkt. 194, p. 4. This Court does “not consider the fact



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an entity generally directed other entities” “where” and “how” to perform work “to

be indicative of control,” Valle v. Ceres Env’t Servs., Inc., No. 21-12020, 2022 WL

1667015, at *5 (11th Cir. May 25, 2022)—even when those directives “directly

impact[]” an employee’s workday and work conditions, Layton, 686 F.3d at 1178.

Such an “indirect type of control” is too “abstract” to qualify as “the type of

control exercised by an employer.” Id.

      The APRM and related documents are macro-level directives to the dealers

that contract with Nissan; they set out general standards for how warranty repairs

are performed and dealers compensated, so that dealers can satisfy their contractual

obligations to Nissan. That is, these documents reflect Nissan’s “objectives” that

the dealers, and therefore their technicians, “were tasked with accomplishing,” but

they do not reflect Nissan’s involvement “with the specifics of how those goals

would be reached.” Id. They neither “apportion tasks to individuals, specify how

many individuals should be assigned” to complete each repair, nor “structure the

chain of command” overseeing the mechanics. Id. Thus, while Nissan’s

guidelines “may have incidentally impacted” Plaintiffs’ “working conditions,” they

do not reflect that Nissan “exert[ed] control as an employer would have.” Id.

      For example, the clock-in and clock-out requirement Plaintiffs emphasize

falls short of this kind of specific control—Nissan requires that information to

assess whether a claim amount is appropriate for payment to the dealer, not to



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direct or ensure that any one person works on a particular task on any given day or

at any given time. The technical bulletins, by simply providing steps for

identifying and repairing issues with Nissan vehicles, similarly fail to show direct

control. They do not assign a specific technician to perform those repairs, specify

how many technicians may work on the repair, or decide on which day and which

shift any one technician will work on such a repair. See, e.g., Dkt. 153-7, p. 1-35.

The same is true of the general requirements that whichever technician works on a

repair be trained to perform that specific repair and work on one vehicle at a time.

      All these standards aimed at quality control writ large do not delve into the

specifics of which technicians at what dealerships work on which cars when. See

Martinez-Mendoza, 340 F.3d at 1210-11 (“contract specifications that set

[immediate employer’s] performance standards” are type of “indirect control”

insufficient to show joint employment); Valle, 2022 WL 1667015, at *5

(requirement that contractor approve laborers’ work for it to be considered

complete did not reflect control). Without that level of granularity, they simply do

not show the direct, employer-like control that joint employment requires. The

District Court correctly held that this factor weighs against joint employment.

             2.    Degree of supervision.

      “[I]nfrequent assertions of minimal oversight do not constitute the requisite

degree of supervision.” Martinez-Mendoza, 340 F.3d at 1211. Plaintiffs do not



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even have that. They simply assert that the APRM, technical bulletins, and

Dealership Agreement show the necessary level of supervision—again, because

they require dealers to meet Nissan’s standards to get paid for warranty work.

Opening Br. 6, 21. But just as those documents do not show direct control over

Plaintiffs, they also do not show any supervision by Nissan of Plaintiffs’ day-to-

day work, much less the regular supervision required under this factor. They

simply reflect the general oversight that an entity may perform to ensure

compliance with contractual standards, not the supervision an employer performs.

See Martinez-Mendoza, 340 F.3d at 1211 (contractor’s personnel visited job sites

not to supervise workers but “simply to ensure that [subcontractor] complied

with . . . contract specifications”).

       It is undisputed that only the dealers and their managers oversee the

mechanics’ daily activities—and do so according to their individual management

structures. See Dkt. 161-9, p. 28-32 (describing supervision frameworks at

different dealerships); Dkt. 161-10, p. 28-29 (describing one dealer’s system for

assigning work to technicians). Personnel from Nissan corporate only visit the

dealerships when mechanics need technical assistance with a repair, not to perform

any regular, supervisory role. Dkt. 153-1, p. 97-98; see also Dkt. 153-2, p. 50-51

(“Q. So other than the tech line and the engineers, what contact did you have with

Nissan corporate employees? A. None that I can recall.”). The APRM and Dealer



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Agreement do not override this evidence or the District Court’s correct conclusion

that this factor also weighs against joint employment.

             3.     Power to hire, fire, or modify Plaintiffs’ employment
                    conditions.

      Plaintiffs resort again to the APRM and Dealer Agreement to assert that, by

listing job titles and positions and requiring technicians to undergo a one-day

training, Nissan has the necessary degree of power over dealers’ employment

decisions. Opening Br. 22-23. But this evidence shows, at best, “minimal

involvement with the employment process.” Layton, 686 F.3d at 1179; see also id.

(only “minimal involvement” where contractor required workers to pass a

background check and made “business decisions that impacted [workers’] hours”).

Any such “minimal involvement” does not make Nissan a joint employer or give it

power over hiring or firing. See id. Instead, the record makes plain that Nissan

does not involve itself in any hiring or firing decisions, directly alter Plaintiffs’

terms of employment, or otherwise modify their working conditions.

      Only the dealerships do that. Plaintiffs’ own testimony reflects that they

were hired directly by the dealers; that those dealers operate according to their own

employment handbooks and with their own HR departments; and that the dealers

individually decide on benefits, work assignments, time off, and discipline. Dkt.

161-9, p. 57-61, 64-65, 85-86, 89; Dkt. 161-10, p. 25-26, 41-42, 79-81. As with

the previous factors, the APRM and Dealer Agreement do not show the direct


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authority and involvement required. The District Court correctly held that this

factor weighs against joint employment.

             4.     Power to set Plaintiffs’ pay rates or payment methods.

      Plaintiffs contend that Nissan controls their pay by paying dealers for

warranty work using the flat-rate system. Opening Br. 22. This view contradicts

the record and the law.

      First, there is no nexus between what Nissan pays dealers for warranty work

and what dealers pay technicians. And neither is consistent across the dealerships

that contract with Nissan—refuting Plaintiffs’ assertion that any “common policy”

governs technicians’ pay. Contra Opening Br. 22.

      Each dealer has its own “approved labor rate,” negotiated with Nissan based

on the rates that dealer charges for customer-paid work. Dkt. 161-11, p. 86-87.

These rates range from $100 an hour to closer to $300, depending on the

dealership. Dkt. 161-1, p. 5-6. To pay a dealer on a warranty claim, Nissan

multiplies that dealer’s individual approved labor rate against the flat-rate time for

the repair at issue. So even the dealerships get paid different amounts based on

their unique circumstances.

      More importantly, dealerships pay their technicians separately from this

process, with no link between the warranty claim amounts Nissan pays out to

dealers and the wages dealers pay to their mechanics. Nissan does not require that



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dealers compensate their employees in any one way or amount. Dkt. 161-4, p. 5.

Instead, dealers are free to—and do—employ different compensation structures

based on their assessment of how best to attract and retain talent. Dkt. 161-4, p. 5

(“Depending on specific circumstances, such as the local job market . . . an

independent dealer may compensate its service technicians on an hourly basis, on a

flat-rate basis, or on some other basis.”); see also Dkt. 161-12, p. 38 (discussing

varying forms of compensation by a single dealership); Dkt. 161-14, p. 32

(testimony that dealership paid mechanic at different rates based on complexity of

customer-paid repair).

      Depending on the dealership, mechanics may make between $20 and $30 an

hour—varying amounts with no connection to the much higher warranty payouts

Nissan gives dealerships. Dkt. 161-14, p. 59-60 (from $25 to $30 an hour); Dkt.

161-9, p. 63 ($32 an hour); Dkt. 161-10, p. 12 ($20 an hour). Indeed, warranty

work is not even the bulk of a mechanic’s work. As a result, their wages mainly

compensate them for performing customer-paid and internal work for which

Nissan does not pay dealers (or otherwise provide guidance). Dkt. 161-1, p. 3, 9.

There is simply no connection between the warranty payouts to dealers and

Plaintiffs’ wages that are set by dealers.

      Reflecting that it is the dealerships and not Nissan that decide technicians’

pay, Plaintiffs both changed dealerships to make more money. Dkt. 161-9, p. 63;



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Dkt. 161-10, p. 16; see also Dkt. 161-14, p. 59 (opt-in plaintiff testifying that “the

pay was definitely a little bit better” at new dealership). This conduct would make

no sense if dealerships that contracted with Nissan operated under one policy for

paying their mechanics tethered to the flat-rate system. Put simply, they do not.

Because it is the dealers with which Plaintiffs negotiated their pay rates and the

dealers that paid Plaintiffs, Plaintiffs were economically dependent only on the

dealers. See Aimable, 20 F.3d at 442.

      Second, even if Nissan’s flat-rate system has some indirect effect on

mechanics’ take-home pay (it does not), an entity does not set or control a worker’s

pay just because it pays their employer. See id. (rejecting “leap of logic” that

purported joint employer “indirectly controlled [workers’] rate of pay” because it

controlled amount their employer received); see also Valle, 2022 WL 1667015, at

*6 (“[I]t is not enough for this factor to support a finding of joint employment if

the employee is merely paid by its employer from funds paid to the employer by

the purported joint employer as a part of a contract to deliver services.”). What

matters is who “determine[s] what wages to pay” which workers and “when (and

if) to increase the workers’ wages.” Aimable, 20 F.3d at 442. That entity is the

dealership that employs the mechanic. It is not Nissan.

      Third and finally, that Nissan makes occasional incentive payments to

technicians whose dealerships enrolled in the Invest in the Best Program does not



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undermine this factor’s weight. That program is voluntary, and dealerships decide

whether to participate (after which their employees may elect to participate, or

not), again showing that the dealers control how their employees are compensated.

Dkt. 161-11, p. 130-31. None of Plaintiffs, named or opt-in, participated in this

program or received any direct payment from Nissan through the program or

otherwise. Dkt. 165, p. 14 n.12.

      Moreover, any incentive payments would simply add to the core

compensation that only the dealerships decided and controlled—they would not

reflect Nissan’s control over Plaintiffs’ pay rates or method of payment, nor would

they make Plaintiffs economically dependent on Nissan. Cf. In re Volkswagen

“Clean Diesel” Mktg., Sales Practices, & Prods. Litig., 467 F. Supp. 3d 849, 863

(N.D. Cal. 2020) (payment of incentive compensation does not amount to “control

over wages”); see also Aimable, 20 F.3d at 442 (control over pay involves

“specifically determin[ing] the amount of pay,” including “whether to pay on an

hourly or piece-rate basis” and “deduct[ing]” taxes).

      Because Nissan does not control technicians’ rate of pay or payment

methods, the District Court correctly held that this factor weighs against joint

employment.




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             5.     Preparation of payroll and payment of wages.

      For similar reasons, the District Court also correctly weighed this factor

against joint employment. As the District Court emphasized, only the dealerships

prepare payroll and pay technicians their wages. Dkt. 161-4, p. 7. The District

Court viewed payments under the Invest in the Best program as somewhat

weakening this factor, Dkt. 194, p. 7, but as the court recognized, this factor still

cut against joint employment even accounting that for program. After all, no one

in this action was ever paid directly by Nissan. And even if they were, limited and

occasional incentive payments on top of regular wages do not reflect Nissan’s

control over wages or Plaintiffs’ economic dependence on Nissan. This factor

weighs against joint employment as well.

             6.     Ownership of facilities.

      There is no dispute that Nissan does not own the dealership facilities where

Plaintiffs work. Dkt. 161-1, p. 2. That should resolve this factor. But Plaintiffs

assert that the Dealership Agreement shows that Nissan “controls” the dealership

facilities. Opening Br. 24. They are wrong.

      Nissan does not control the dealers’ facilities in the necessary sense. The

Dealer Agreement sets out general standards for “Dealership Facilities” to ensure

that dealers will be able to “effectively perform [their] responsibilities under” their

contracts with Nissan and effectively compete against “principal competitors.”



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Dkt. 153-6, p. 3; see also id. (“[T]he Dealership Facilities shall be satisfactory in

space, appearance, layout, equipment, [and] signage” according to Nissan’s

“Guides”). The Dealer Agreement also generally requires dealers to be “in

compliance with all applicable federal, state and local laws.” Dkt. 153-6, p. 11.

That is, Nissan simply requires dealerships to operate out of facilities that will

make them competitive and allow them to satisfactorily sell and service Nissan

vehicles (while avoiding legal trouble that might interfere with their contractual

obligations). That’s it.

      “Control” requires more: direct power over the working conditions and daily

activities in a facility that enable the entity “to prevent labor law violations.”

Layton, 686 F.3d at 1180; see Valle, 2022 WL 1667015, at *6 (finding some level

of “control” over facilities when purported joint employer “could remove any

subcontractor from the worksites for any reason”). Nothing in the Dealer

Agreement or any other evidence shows this level of control. Nissan does not

impose or monitor safety procedures or otherwise oversee the daily working

conditions relevant to potential labor law violations—the Dealer Agreement says

nothing about either. Nor does Nissan have the power to remove a technician from

a worksite or otherwise impact specific work assignments and employees, like the

purported joint employer in Valle did (and even that level of “control” did not




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make this factor “especially probative” given the immediate employer’s ownership

of the equipment). Valle, 2022 WL 1667015, at *6.

      No evidence reflects that Nissan owns or controls the dealers’ facilities in

the necessary sense. The District Court correctly held that this factor weighs

against joint employment.

             7.     Performance of a specialty job integral to the business.

      Plaintiffs are also wrong that technicians perform a specialty job integral to

Nissan’s business. This factor favors joint employment only under specific

circumstances: when workers perform a routine, “specialized task in an assembly-

line environment.” Valle, 2022 WL 1667015, at *7 (citing Layton, 686 F.3d at

1180). Under those circumstances, this factor “is probative of joint employment

because a worker who performs a routine task that is a normal and integral phase

of” the employer’s production process “is likely to be dependent” on that overall

production process—and that employer. Antenor, 88 F.3d at 936; see also

Martinez-Mendoza, 340 F.3d at 1212 (the more “repetitive” and “rote” the task,

and “[t]he lower the worker’s skill level, . . . the greater the likelihood of his

economic dependence on the person utilizing those services”).

      Technicians do not perform a low-skill, “routine line-job.” Antenor, 88 F.3d

at 936. Exactly the opposite. They perform a skilled job they could perform (and

did perform) for any dealership on any type of vehicle. See Dkt. 161-9, p. 6-7



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(testimony that Ayala currently works at Honda dealership); Dkt. 161-9, p. 20

(testimony that technicians at Nissan dealership would service other vehicle

makes); see also Layton, 686 F.3d at 1180 (drivers did not perform specialty job

integral to business when they could have used their vehicles “to serve other

companies needing delivery services”). And they perform that job individually,

rather than side-by-side with Nissan employees on an assembly line. See Layton,

686 F.3d at 1180. This factor thus weighs strongly against joint employment.

      Plaintiffs try to escape this conclusion by making an argument this Court has

repeatedly rejected: that this factor favors joint employment because the

maintenance and service of Nissan vehicles is integral to Nissan’s business, a fact

supposedly reflected by Nissan’s advertising and Dealer Agreement. See Opening

Br. 22; Dkt. 169, p. 16-17. Put differently, they argue that they perform one of the

services that Nissan “is in the business of providing, and so they must be integral

to [Nissan’s] business.” Valle, 2022 WL 1667015, at *7. They are incorrect—

under Florida law, Nissan (as a manufacturer) is not in and cannot be in the

business of servicing and maintaining vehicles. See Fla. Stat. § 320.645 (a

manufacturer or distributor may not “directly or indirectly own, operate, or

control . . . a motor vehicle dealership”).

      But either way, Plaintiffs’ purported importance to Nissan’s business does

not make them economically dependent on Nissan. This Court has rejected this



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view at least twice and should do so again here. See Layton, 686 F.3d at 1180

(though drivers “performed a crucial task for DHL,” it was not analogous enough

to assembly-line work); Valle, 2022 WL 1667015, at *7 (“We rejected a similar

argument in Layton, and we reject it here.”). This factor weighs against joint

employment.

             8.    Relative investment in equipment and facilities.

      The final factor also weighs against joint employment. This factor matters

because “workers are more likely to be economically dependent on the person who

supplies the equipment or the facilities” that the workers use. Layton, 686 F.3d at

1181. As the District Court held, there is no record evidence that Nissan supplies

any equipment or facilities the technicians use. Dkt. 194, p. 8. Not only do the

dealers own and operate their own facilities, but technicians buy their tools and

take them with them to different dealership jobs (indeed, this fact underlies some

of Plaintiffs’ own claims of underpayment). Dkt. 161-14, p. 58.

      Plaintiffs contend that this story is incomplete, because Nissan invests in

“personnel (i.e. Technicians)” through Invest in the Best incentive payments as

well as training programs, “management tools and requirements,”

“reimbursements” and “claim centers.” Opening Br. 26. Even putting aside that

Plaintiffs again over-inflate the general provisions of the APRM and Dealer

Agreement, such purported investments in or reimbursements for labor are not



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“relevant to this factor.” See Valle, 2022 WL 1667015, at *7 (rejecting similar

argument that “laborers and manpower” were employers’ main assets). None of

these things are investments in “equipment” or “facilities.” Cf. Martinez-Mendoza,

340 F.3d at 1214 (factor weighed against joint employment when purported joint

employer did not provide workers’ “housing, transportation, tools, etc.”). And

even if Nissan somehow indirectly invests in dealers’ facilities—though there is no

evidence of that— any relative investment it makes pales in comparison to the

dealerships’ primary investments in and ownership of their facilities and

equipment. The District Court correctly weighed this factor against joint

employment.

                                         ***

      In sum, as the District Court held, all eight factors weigh strongly against

joint employment, meaning Nissan cannot be liable under the FLSA or FMWA. In

reaching this conclusion and granting Nissan summary judgment on those claims,

the District Court did not improperly disregard any evidence. Indeed, the evidence

Plaintiffs pointed to below and on appeal—primarily, the APRM and Dealer

Agreement’s general contractual standards—simply does not carry the day for

them. This Court should affirm.

      This Court should also affirm the District Court’s unjust enrichment and

class certification rulings, because Plaintiffs offer no challenge to either beyond



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what they already argue on the joint employment front—that is, their incorrect

assertions that Nissan is a joint employer and the District Court ignored evidence

(that it in fact addressed). Once this Court rightly affirms that Nissan did not

jointly employ Plaintiffs, nothing is left of those challenges. Opening Br. 30

(arguing that class certification “mirror[s] much of the joint employer factors” and

arguing the district court “omitted key support” for Plaintiffs’ arguments consisting

of the APRM and Dealer Agreement); id. at 30 n.4 (arguing in a single footnote

that summary judgment against the unjust enrichment claim was “unsupportable”

for the same reasons). This Court can resolve them on that basis—and for the

other reasons discussed below.

      D.     The District Court correctly granted Nissan summary judgment on
             Plaintiffs’ unjust enrichment claims.

      Plaintiffs complain in a two-sentence footnote that the District Court’s

decision to grant summary judgment to Nissan on the unjust enrichment claims is

“unsupportable.” Opening Br. 30 n.4. This single footnote does not adequately

raise or preserve this issue for appeal. Tallahassee Mem. Reg’l Med. Ctr. v.

Bowen, 815 F.2d 1435, 1446 n.16 (11th Cir. 1987); see King v. Nat’l Union Fire

Ins. Co. of Pittsburgh, Pa., 248 F. App’x 123, 125 & n.1 (11th Cir. 2007) (mere

mention of or passing references to issue insufficient to preserve it for appeal).

      Plaintiffs are also incorrect about their waived argument. As the District

Court observed, a Florida unjust enrichment claim requires proof that the plaintiff

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directly conferred a benefit on the defendant. Dkt. 194, p. 9 n.1; see Kopel v.

Kopel, 229 So.3d 812, 818 (Fla. 2017). There is no evidence that Plaintiffs

conferred any direct benefit on Nissan, given that Nissan was not their employer

and they worked exclusively for the dealerships. And Plaintiffs identify none.

They assert that the District Court “failed to note the APRM and Dealership

[A]greement,” Opening Br. 30 n.4, but Plaintiffs do not explain how those

documents governing the relationship between Nissan and the independent

dealerships reveal any benefit that Plaintiffs directly conferred to Nissan. Instead,

the evidence is clear that Plaintiffs worked for the independent dealerships and any

benefits they conferred on anyone went directly to those dealers and not to Nissan.

This Court should affirm.

II.   The District Court correctly denied Plaintiffs’ motions for class and
      collective action certification.

      The District Court also correctly held that the facts establishing that

Plaintiffs—and the proposed class and collective—all worked for different

dealerships under different pay structures (and not for Nissan) defeated their

motion to certify a collective action and class.

      To maintain a collective action under the FLSA, Plaintiffs (named and opt-

in) were required to “demonstrate that they [were] similarly situated.” Morgan v.

Fam. Dollar Stores, Inc., 551 F.3d 1233, 1258 (11th Cir. 2008). And to certify a

class under Federal Rule of Civil Procedure 23, there must be common “issues that

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are susceptible to class-wide proof.” Murray v. Auslander, 244 F.3d 807, 811

(11th Cir. 2001). The District Court properly exercised its discretion in concluding

that the proposed collective and class here were neither similarly situated nor

presented issues capable of class-wide proof. Dkt. 194, p. 9 n.2; see Morgan, 551

F.3d at 1260 (collective action certification reviewed for abuse of discretion);

Murray, 244 F.3d at 810 (class certification rulings reviewed for abuse of

discretion). And because the District Court did not clearly error in making the

factual finding that Plaintiffs were not similarly situated, this Court must affirm.

See Morgan, 551 F.3d at 1260 (“We will reverse the district court’s fact-finding

that Plaintiffs are similarly situated only if it is clearly erroneous—not simply

because we might have made a different call.”).

      Plaintiffs’ primary complaint about the District Court’s decision appears to

be that the District Court did not sufficiently analyze or provide reasoning on the

certification issue. See Opening Br. 29-30. But it did. Not only did the court

specifically address this issue in a long footnote with multiple citations, Dkt. 194,

p. 9 n.2, but as Plaintiffs acknowledge, the “similarly situated” and commonality

inquiries “mirror” the joint employment analysis, Opening Br. 30—on which the

District Court expounded at length. So related are these inquiries that Plaintiffs’

certification motion in the District Court focused almost entirely on arguing the

joint employment factors. See generally Dkt. 169. The District Court’s reasoned



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analysis of the joint employment issue, then, combined with its added discussion of

certification, more than sufficed to explain why Plaintiffs were not similarly

situated and lacked commonality.

      And that decision was correct. Courts addressing the “similarly situated”

question must consider the “disparate factual and employment settings of the

individual plaintiffs.”3 Morgan, 551 F.3d at 1261. Plaintiffs need not “hold

identical positions” but must demonstrate adequate similarity in their “job duties

and pay provisions.” 4 Id. at 1261-62; see also id. at 1261 (“[A]s more legally

significant differences appear amongst the opt-ins, the less likely it is that the

group of employees is similarly situated.”). In other words, they need, at the very


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  Courts in this circuit often take a two-step approach to certification of a collective
action, assessing “conditional” certification based on a “lenient” notice-pleading
standard, and then deciding whether to decertify any collective action once
discovery is complete, at which point plaintiffs face a “stricter” standard and
heavier burden to show they are similarly situated. Anderson v. Cagle’s, Inc., 488
F.3d 945, 952-53 (11th Cir. 2007). District courts are not required, however, to
follow this approach, and instead retain broad discretion in how they approach
certification. Hipp v. Liberty Nat’l Life Ins. Co., 252 F.3d 1208, 1219 (11th Cir.
2001); see Morgan, 551 F.3d at 1260 (This Court does not “require[e] a rigid
process for determining similarity”). The District Court addressed certification at
the final pretrial conference, after discovery closed and on a full record—meaning
it effectively decided certification at the second, more demanding stage.
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  There must also be adequate similarity in the potential defenses that apply to the
claims; courts thus also consider “the various defenses available to defendants that
appear to be individual to each plaintiff” as well as “fairness and procedural
considerations.” Morgan, 551 F.3d at 1261. Given the lack of similarity in
Plaintiffs’ job duties and pay provisions, the District Court did not need to reach
these issues.

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least, to be subject to the same employer’s payment policies. The same is true for

commonality: there cannot be common issues of underpaid wages susceptible to

classwide proof if each plaintiff was paid differently by a different employer.

      As the joint employment analysis showed, Plaintiffs here neither had the

same employer nor were subject to common pay provisions. Plaintiffs’ continual

resort back to the APRM and Dealer Agreement—neither of which makes Nissan a

joint employer or set out a common policy of how dealers paid technicians—do not

change this conclusion or show any clear error in the District Court’s factual

determination. Because Nissan is not their joint employer and its flat-rate

payments to dealers had no impact on Plaintiffs, there is nothing to unite the

Plaintiffs or their claims for unpaid wages. The District Court thus correctly

denied certification for lack of commonality and similarity.

                                  CONCLUSION

      For these reasons, this Court should affirm.

Dated: October 5, 2023                        Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      1.     This brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) because it contains 8,025 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(f).

      2.     This brief complies with the typeface and type-style requirements of

Fed. R. App. P. 32(a)(5) and 32(a)(6) because it has been prepared in a

proportionally spaced typeface using Microsoft Word, in 14-point Times New

Roman style.



Dated: October 5, 2023                        /s/ Matthew A. Fitzgerald
                                              Matthew A. Fitzgerald

                                              Counsel for Defendant-Appellee
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                            CERTIFICATE OF SERVICE

         I hereby certify that on October 5, 2023, I electronically filed the foregoing

Brief with the Clerk of the Court using the CM/ECF system, which will send a

notification of electronic filing to all counsel of record who are registered CM/ECF

users.

         I further certify that on the same day, four paper copies of the foregoing

Brief were sent to the Clerk of this Court via Federal Express next-day delivery

pursuant to 11th Circuit Rule 31-3.



Dated: October 5, 2023                           /s/ Matthew A. Fitzgerald
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